Hon. Marsha .T. Pechrnan

UNITED STATES I)ISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATI`LE

JONATHAN HEL.D AND LISA I-[ELD,
FOR THEMSELVES AND AS PARENTS

OF J.H, AMlNOR, No. 2=13-CV~1)1543-MJP
AMENDE»D
Plaimiffs, RESPONSE TO MOTIQN FoR
v_ SUMMARY JUDGEMENT

NORTHSHORE SCHOOL DISTRICT,

 

Defendant.

 

TO: The Clerk of the Court

AND TO.' Donald Austin, Attorney for Defendant Northshore School District
I_ REQUEST FOR RELIEF

1_ Defendant’$ Motion for Summary Judgment Should be denied

2. Plaintiff” s attorney’s fees and costs should be paid by Defendant.

ll. FACTS

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777 loath Ave. N.E.; ste. 2240
Be|ievue, WA, 98004
{425)451“7276 (p)
(206)333-6527 (f)

 

Defendant filed a Motion for Summary ludgment egregiously premature in the discovery
process and inappropriately in a highly fact-intensive case, making it improper for this Court to

properly dispose of this case at this juncture in the proceedings
Ul IS SUES
1. Should Defendant’s Motion for Suinmary Judgment be denied?
2_ Should Det`enclant pay Plaintift" s attorney’s fees for having to respond to this Motion?
IV. ARGUMENT
l. Introduction

This case is about a student, Plaintiff JH, and his parents, Plaintiffs Jonathan Held and
Lisa Held, struggling against an entrenched school district which has refused to accommodate
what disabilities were well documented in ways which could have easily improved his success in
school, and in the process has discriminated against him and ignored their duties towards him.
This case is not about a school district having done what they could, although it is agreed that
what they did do was not enough to “assist a student with ADHD [among other disabilities that

are agreed] to remember to turn in his homework assignments” (See Defendant Northshore

School District’s Motion for Summary ]udgment, hereinafter Motion, p. l para. l).

2_ Legal Standard

The standard this Court must use should it find in favor of Defendant’s instant Motion for

Sumrnary ludgment is set forth in CR 56(€) and Wilson v. Steinbach 98 Wn.§!d 434, 437, 656

 

P.Zd 1030 (]982) among numerous other cases of course: there must be no issues of material fact

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(425)451-7276 (p)
(206)338-6527 (f)

 

and the moving party is entitled to judgment as a matter of law. A genuine issue of material fact
exists when reasonable minds could differ on the controlling outcome of the litigation R_angg
Ins. Co. v. Pierce County, 164 Wn.Zd 545, 192 P.3d 886 (2008)_ Judgrnent as a matter of law is
appropriate where there is no legally sufficient basis for a reasonable jury to find for a party with
respect to the issue_ CR 50. In reviewing a motion for summary judgment, all facts and
reasonable inferences are reviewed in the light most favorable to the nonmoving party.

Steinbach 98 Wn.Zd at 437.

 

3. Argument
a. Legal Standard

Notably, while the aforementioned rules of summary judgment are well established,
Defendant has failed to reference all except the first portion of the first rule as set forth in
Celotex Corp. v. Catrett, 477 U.S_ 317, 322~23, 327 (1986) and in Wilson v. Steinbach, supra_,
that there must be rio issues of material fact, in the instant Motion (p. 13, para. 4). This appears to
be because, in addition to there being (many) issues of material fact in this case, the remaining
portion of the rules cited above, that are strategically left out of the instant Motion, also require
this Court to rule in favor of Plaintiffs. ln fact, Defendant does not substantively address the
dispositive issue: are there issues of material fact that exist in this case? lnstead, it relies
exclusively upon its fact-based position that it has done many things to accommodate Plaintiff
JH at school The very declarations they have produced directly conflict with the declarations
and evidence set forth in Plaintiff’ s Complaint in this case This factual dispute as to all material

allegations is dispositive, requiring this Court to rule in favor ofPlajntiffs.

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b. Discriminatory Treatment

In addition to ignoring the factual dispute that requires this Court to deny Defendant’s
Motion, Defendant has ignored the issues most unfavorable to his client’s position in the
summary judgment proceeding, the many allegations of discriminatory treatment towards lI-I by
school district personnel, much of which is even supported by Defendant’s own biased
documentation One example of treatment deemed inappropriate by both parties is verification of
one if not several lewd and abusive remarks made to ]H by his teacher Mr. Schmidt, which was
deemed credible both by Mr_ Sauer, ]H’s counselor, when JH reported this mistreatment to himj
as well as by Defendant’s own investigator, Kathleen Haggard (See Exhibit l, page 9, paragraph
2 of the investigative report entitled “Re'. ]H”. Notably, Ms. Haggard is an attorney employed at
opposing counsel’s law firm, yet she was improperly referenced by Defendant as an “outside
investigat[or}” in emails to myself and to Plaintiff Jonathan Held. See Exhibit 2, email labeled
“FW: Final Report Re: Investigation into Allegations” dated April l, 2013. Many other examples

of discriminatory treatment are established by further documentation provided by Defendant.

One example of discriminatory acts of Defendant against JH, supportive of both
Plaintiff’ s religious discrimination claim and Plaintiff lH’s disparate treatment relative to
individuals without disabilities who were involved in disciplinary actions for the same events
Plaintiff JH was involved with, involves a urination incident among .TH and two other students
On page 3 of Defendant Employee Chris Bigelow’s Decision on Mr. Held’s Citizen Complaint1
dated May 6, 2013, Defendant’s Exhibit 6 attached to the instant Motion; Mr. Bigelow found a

[third party]‘student had cut off the lights,’ which is supportive of Plaintiffs’ claim that this

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student’s behavior was a bullying tactic which caused JH anxiety and loss of bladder control
leading to the urination incident, yet only .lH was not disciplined for this until Plaintiffs Jonathan
Held and Lisa Held filed a Harassment, Intirnidation or Bullying lncident Reporting Form dated
4/11/13 (Exhibit 3), as well as Plaintiff Jonathan Held’s rfort Claim Form filed 4/25/l3,
Defendant’s Exhibit 14, whereby they reported the ongoing threats made by this third party
student as well as discriminatory treatment of ]H by school district employees Obadiah Dunham
and lacob Hendrickson, as well as several further times having informed the school district of
ongoing bullying and threats by the third party student involved in the incident, (See Exhibit 4,
Email labeled “CP [redacted] threats”, sent from Plaintiff ]onathan Held to several Defendant

employees).

A second example of of discriminatory treatment of Defendant against JH involved Mr.
Bigelow noting in his Decision on Mr. Held’s Citizen Complaint (Exhibit 5) that JH was
assigned a Saturday School, which was done despite Plaintiffs many times informing Defendant
of their Jewish religious practices requiring ]I-l not to attend Saturday School. Because their
request that ]H not attend Saturday School because of his religious practices was denied until
Plaintiff talked about this matter at yet a higher level with leff Sherwood, Defendant’s refusal to
religious discrimination claim; see page 3 of E)rliibit 6, “Notes nom Meeting with Held’s”, also
Exhibit 10 attached to Plaintiffs’ Complaint; also See Exhibit 7, highlighted portions of notes
taken from 4/8/13 meeting labeled “Held, Dunham, Hendrickson, and Nickels”, pgs. l, 3, and 4)',
and see Exhibit 5, highlighted portion of Email from Plaintiff lonathan Held to Chris Bigelow
and Jeff Sherwood at Northshore School District dated 5/28/13, and Exhibit 8, highlighted

portions of Eniail from Defendant employee Obadiah Dunham to Plaintiff ]onathan Held labeled

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“Jacob’s Discipline.” Viable and material issues of fact remain in regards to Plaintiff’ s

Washington Law Against Discrimination to prove that; l) ]H has bona fide religious belief that
conflicts with an educational requirement7 2) he informed the District of the conflict; and 3) the
District took adverse action because of his refusal to comply with the requirements, pursuant to

Hiatt v. Walker Chevrolet Co.1 120 Wn_Q,d 57, 664-65, 837 P_Zd 6l 8 (1992).

Defendant emphasizes .lH’s indication that he sometimes works as a ski instructor on
Saturdays, inferring therefrom that he cannot be a practicing lew for whom religious
accommodation should be provided', however, there is no legal support for any appropriate legal
analysis to conclude this would be true lt is not for Defendant to determine how a lew must
practice their religion, something of which they had no knowledge when being informed of their
religion in any case when a request for accommodation is made, in order to decide whether they
are deserving of an appropriate accommodation for a religious reason For this reason,
Defendant’s request for summary judgment in regards to religious accommodation must fail,

these claims remaining viable and otherwise undisputed
c_ Failure to Accommodate lH’s Disabilities
i. Premature Request by Defendant for Determination of Facts at Issue

A number of the factual disputes that exist involve whether Defendant had appropriately
drafted a 504 Plan, as well as whether Defendant had appropriately accommodated Plaintiff Jl-l
with these 504 Plans. Defendant relies upon having drafted 504 Plans, as well as that it has done
listed things to attempt to accommodate IH, in appearing to claim that what accommodations
they made were legally appropriate However, it is not for this Court, in determining whether

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summary judgment should be granted, to determine whether what steps Defendant has taken
were appropriate, simply because steps of some nature were taken to attempt to accommodate
Plaintiff IH, because these are factual determinations not established simply because Defendant
has filed largely formulaic declarations indicating Defendant employees claim to have spent
significant time with Plaintiff JH. lnstead, this Couit must determine whether genuine issues of
material fact exist and that there is a legally sufficient basis for a reasonable jury to find for a
party with respect to each material issue CR 50_ Numerous issues of material fact exist in this

case as to all matters in dispute (See Declaratiori of lonathan Held dated July 29, 20l4)_
ii. Failure to Accommodate ]H’s Disabilities

Although Defendant has made a premature request of this Couit that it determine factual
matters in dispute as aforementioned should this Court entertain this request in some manner,

Defendant fails to demonstrate any reasonable accommodation for Plaintiff’ s disabilities

A first example of the failure of Defendant to accommodate Plaintiff’ s disabilities in a
nondiscriminatory manner involved behavior accommodations, which were removed by
Defendant inappropriately based on Defendant’s position that Plaintiff should have had an
evaluation done in regards to anxiety issues with a designated physician, Dr. Young, despite
there being no change in JI-I’s disabling conditions (See Email from Defendant employee
Carolyn O’Keefe dated 4/1/13, Exhibit 9; and see Behavior Accommodation incorporated in
JH’s 504 Plan dated 10/23/12 and subsequently removed henceforth beginning with the 2/26/ 13
504 Plan (Defendant’s Exhibit 4 attached to the instant Motion). Numerous treating physicians,

including IH’s neurologist and key expert in the school district meeting which led to his first 504

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(206)33845527 (f)

 

Plan, as well as his treating physician7 Dr. Mustafa and Dr. Weinberg, have verified JH’s anxiety
diagnosis as well as the other disabling conditions referenced in Defendant’s l\/lotion (See
Exhibits lO, ll, and 12, also Exhibits 7, 8, and 9 attached to Plaintiffs’ Complaint_ Therefore,
there was no basis to change the 504 Plan since no change in ]H’s diagnoses had taken place
The Behavior accommodation removed from IH’s 504 Plan was detrimental to his success in
school because, when accommodated it had permitted him to see his counselor prior to the Vice
Principal Mr. Hendrickson, the latter whom he had experienced a number of improper and
discriminating treatment with. ln additionj PlaintiEs did not want to have an evaluation
conducted by the doctor designated by Defendant because he was a psychologist, not a

neurop sycholo gist, and he had told Plaintiff Jonathan Held that he had exclusively testified in
support of school districts, clearly demonstrating both inadequate experience and bias in favor of
Defendant, neither of which would likely lead to the accommodations Plaintiffs were having

such a difficult time maintaining in ]I-I’s 504 Plan.

A second example of a discriminatory refusal by Defendant to properly accommodate JH
was in regards to .lH’s long history of inattention and difficulty doing his homework and related
issues, which were not sufficiently described in I[-l’s 504 despite continuing, increasing problems
with this and Plaintiffs’ repeated requests for appropriate changes to the 504_ This was
acknowledged as a problem by Defendant’s own statements in its supporting Declaration by

Obadiah Dunham (p_ 2, para. 8)_
d. Viable I)iscrirnination Claims Which Should Survive Summary Judgment
i. Section 504 and ADA Claims

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(206)333-6527 (f)

 

Plaintiff Jonathan Held intended to file the Tort Claim referenced in Defendant’s instant
Motion on behalf of his son, lacob Held, a minor, and his wife, Lisa Held, as his son is not of
legal age to contract on his own behalf and because the incident involved damages related to
both his son and his wife for consequential damages For these reasons, Plaintiff s state law
based claims, specifically negligence, outrage, and Washington Law Against Discrimination, as

noted by Defendant, should not be dismissed

Viable, material issues of fact remain regarding Plaintiffs’ proving that JH “was either
excluded hom participation in or denied the benefits of a public entity’s services programs or
activities or was otherwise discriminated against by the public entity. 42 U_S.C. § 12132_
Similarly, viable and material issues of fact remain regarding Plaintiffs’ proving that JH “was
denied the benefits of the program solely by reason of his disability . . ” 29 U.S.C. § 794. The
reasons for this have been outlined above as Pla`mtiffs have not been provided the
accommodations needed in regards to his disabling conditions lust because Defendant has
indicated they have made efforts to deal with issues related to ]I-l does not mean they were
accommodating ]H as required under Section 504 and ADA, essentially providing him the
accommodation he needs, due to his recognized disabling conditions, to have an education
equivalent to that accessed by non-disabled students In fact, the opposite situation has been seen
both in accommodation of ]H’s disabling conditions through his 504 Plan and in how he has
been disciplined in ways disparate from that of his non-disabled peers ln addition to that, a
number of Defendant staff had made a number of discriminatory comments and done
discriminatory things to IH, evidence of which is disputed but in some ways even supported by

Defendant’s own Declarations and documentation most significantly the Declaration of Michael

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Sauer and the Investigative Report of Kathleen Haggard as aforementioned Nurnerous issues of
material fact remain regarding these claims; therefore, Defendant’s instant Motion should be

denied pertaining to these claims
ii. Deliberate Indifference

For all aforementioned reasons pertaining to Plaintiffs’ viable claims that involve
material factual matters in dispute, this Court cannot dispose of this case in Defendant’s favor at
this time because Defendant in fact knew of the risks involved with not properly accommodating
JI-l’s disabilities, which is the standard set for proving deliberate indifference under Section 504
or the ADA as interpreted by the court in Patel v. Kent School District., 648 F.Zd 965, 974 (9th
Cir_ 2011)_ As aforementioned Defendant employee Obadiah Dunham , Principal at Leota Junior
High, lH’s junior high school at the time in question, was aware of the problems that were never

resolved by himself and other school district employees

Defendant cannot prevail on summary judgment based solely on its own self-serving
statements that they were attempting to accommodate JH in some way based on the facts that are
in dispute, particularly when its lay witnesses make formulaic inappropriate legal conclusions
that they were not “deliberately indifferent” (See Declaration of Obadiah Dunham dated ]uly 30,
2014, p_ 2, para 7; Declaration of Michael Sauer dated December 9, 2013, pt 3, para 7;
Declaration of Kurtis L. Schmidt dated December 9, 2013, p. 3, para lO; and Declaration of
Adam Zitzmann dated December lO, 2013, p_ 2, para 5). Defendants were made aware of the
discriminatory acts involving a number of employees indicated in the Complaint for this case

since lurie 15, 2012 (See Exhibit 13, Email from Plaintiff lonathan Held to several Defendant

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employees dated lurie 15, 2012), and Defendant has indicated through discovery that nothing
was done to take care of these concerns (this response was reiterated in a recent CR 26(i) phone
conference wherein opposing counsel informed the undersigned attorney that nothing was done
in response to this email, confirming what is indicated in discovery (See Exhibit l4,
Interrogatory No. 6 and Response). Particular notable is the aberration in this formulaic approach
of the Declarations provided by Defendant to support the instant Motion within the Declaration
of Michael Sauer, the sole employee who Il-l had relied upon as the school counselor when his
behavior issues related to his disability were accommodated Mr, Sauer notes that he spent
significant time with issues related to ]H, and while other employees indicate they spent much
more time than this on these issues, l\/lr_ Sauer appears to be the employee who is in reality the
most concerned and truthful about what disabling conditions and related issues JH has had as
well as what discriminatory treatment he has suffered at the hands of Defendant employees as

aforementioned (p. 3, para 2).

Defendants rely heavily upon Plaintiff Jonathan Held’s indication in his deposition that
problems were resolved at times when issues were brought up to Defendant employees', however,
his interpretation of Plaintiff lonathan l-Ield’ s statements is incorrect and does not account for the
countless hours spent by Plaintiffs in seeking help for JH regarding the many discriminatory
events and reidsal of Defendant to properly accommodate his disabilities Specifically, citing
what Defendant has highlighted in Exhibit 2 of Defendant’s Motion, p. 138 - 139, Plaintiff
lonathan Held and opposing counsel exchanged these words:

l. lt was pretty frustrating that the 504 plan, no matter

2 What extent you went to revise it and get it to work, it

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3 Simply would not work, because, asl previously stated,
4_ Different teachers would interpret it and apply their own
5. rules and regulations in terms of what it permitted and

6 what it didn‘t permit

7 That was the biggest frustration

8 Q And when those frustrations would come up, you would
9 communicate with Mr. Dunham about them?

10 A Depends.

11 He would be CC'd on most correspondence where there
12 were issues that were missing that J: wasn't being

13 notified about or wasn't being prompted for. Absolutely
34 he was made aware of these issues

15 Q ln communicating with him or with the teachers about
16 these issues, were they generally, ultimately resolved‘?
17 A Not all the time, no.

18 There was one specific instance with Caroline

19 O'Keefe where we rnet at the end of the school year-- 1
20 want to say last year, but give me a second to look this
21 up, and l can be more specific

22 The short answer is absolutely not_

23 Q What percentage of the time, roughly, were they not
24 resolved?

25 A Again, if -- l don't have a percent for you in terms of,
l you know, ten percent of the time we didn‘t get issues

2 resolved as opposed to 90 percent_(highlighting mine)

While Plaintiff ]onathan Held later seems rushed into responding to a question and then
affirmatively indicating this percentage is actually what is the resolution rate, he has been
confused and asked a leading question to which he then responded affirmatively, rather than

giving a descriptive response, which can better be relied upon, as in line 25 above In any case,

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this evidence is not reliable or clear in indicating any percentage estimation of the school
district’s resolution of issues the Plaintiffs brought to them on behalf of IH. This certainly has
been overwhelmingly relied upon by Defendants in its argument that Plaintiffs are satisfied with
Defendant’s accommodation of IH’s needs To the contrary, as aforementioned and replete
within Plaintiffs’ Complaint in this case and its accompanying exhibits, and as indicated by
Plaintiff Jonathan Held’s Declaration dated ]uly 29, 2013, Plaintiffs have been extremely

dissatisfied with the way Defendant has handled ]H’s needs.

The reason Plaintiff lonathan Held described in his deposition that Defendant had
responded and sometimes corrected discriminatory acts and refusals to accommodate IH in his
agreed areas of disability was because after filing complaints and pursuing appeals a number of
times, which is referenced by Defendant and documentation of which is provided in exhibits by
Defendant attached to the instant Motion, some of the issues were resolved However, many
more issues were never resolved, which is the reason Plaintiffs filed this lawsuit A parent should
not have to go to such lengths to see their child’s disabilities more closely examined by a school
district For these reasons, Defendant was deliberately indifferent as established under Duvall v.

County of Kitsap, 260 F.3d 1124, 138 (9“` Cir. 2001) and other federal cases.

One egregious example of Plaintiffs’ rights being violated involved improperly holding a
manifestation determination hearing regarding ]H despite the suspension involved not meeting
the threshold requirement of more than 10 days for such a hearing to be required, pursuant to
WAC 392-172A-05145(4)(e), and then inviting School Resource Of["lcer Callahan to the

meeting where lH’s disabilities and other private information were discussed against Plaintiffs’

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wishes Additionally, Defendant failed to correct the error in not needing to hold the
manifestation hearing in the five days after notice was given to them by Plaintiffs that they were
not going to attend the hearing because it is not supposed to be held due to the suspension not
being for more than 10 days (See Exhibit 15, Email from Plaintiff Jonathan Held to several
Defendant employees dated November 14, 2014)_ Plaintiff denies that he told Officer Callahan
about ]H’s disabilities1 in contrast to what Officer Callahan has noted in his Declaration dated
luly 31, 2014, yet another material fact in dispute requiring this Court not to dismiss Plaintiff’ s
claims regarding discriminatory treatment by Defendant against JH (See Exhibit 16, email from

Plaintiff lonathan Held to several Defendant employees dated Novernber 7 , 2013)_
iii_ Gender Discrimination

Viable material issues of fact exist that should lead this Court to deny Defendant’s instant
Motion in regards to gender discrimination The deposition passages cited by Defendant in the
instant Motion support both disparate treatment of girls in regards to discipline related to
tardiness and discipline generally, specifically that JH got ‘kicked out of class’ on occasions for
reasons which appear to have been motivated by gender bias and for no other legitimate
purpose To quote what Defendant has highlighted from Plaintiff lonathan Held’ s deposition,

which was largely reiterated in ]H’s deposition later:

We documented the incidence that we knew had occurred,
25 the violations of policies and procedures that had

l occurred--

2 Q So the question I have is:

3 What were you aware of when you filed the complaint?
4 A With regard to gender, just .. l=s--

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5 Q About how JM was treated differently than girls?

6 A Just that, and with regard to physical education and the
7 teacher, l\/ls. Bamham, that he had, that it was standard

8 practice that girls were favored and treated differently
than the boys were.

10 One example--

11 Q How so?

12 A One example he gave me was that if a boy was late, he
13 would have some punishmentj whereas if girls were late,
14 the same punishment would not apply

l I don’t know if it was because he was late.

Q Was .l. ever late?

15A Probably.

16 Do you know if he was ever punished for being late‘?
17A I'm sure he was

18Q Do you know if he was or not‘?

19A 1 am pretty sure he was.

20Q Why do you think that?

2lA l'm sorry?

22Q What is your basis for the certainty?

23A l remember a conversation where he indicated to me that
2425 he was punished

2 ll<now that he was kicked out of Ms. Barnham's class

3 on several occasions

While Plaintiff lonathan’s Freedom of lnforrnation Act request for grade distribution by
gender was never responded to by Defendant personnel, in discovery, Defendant did produce the
following chart to support a portion of what Plaintiffs are still awaiting in response to the
Freedom of Information Act requests that are outstanding for several months now (See Exhibit

17, titled “Barnum Grades Given a SY’s 08-09 thru 12-13”). Plaintiffs have provided evidence

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supporting a claim that a pattern of disparate treatment existed With particular teachers,
especially Ms. Barnum, related to discipline and grades, pursuant to Fell v. Spokane Transit
Authority, 128 Wn.2d 618, 637, 911 P_2d 1319 (1996)_ These matters indeed appear to be
disputed, involve material issues of fact, and Plaintiff cannot be faulted for Defendant’ s failure to
provide what documentation Plaintiffs have requested to support their requests for many months
now. Plaintiffs, through the undersigned counseL has been awaiting updated discovery, in the
form of interrogatories and requests for production as well as several depositions, to further

supplement gender discrimination claims as well as all claims in this case.
iv_ Negligence

Defendant’s reliance on an unconvincing analysis of educational malpractice is deficient,
as Plaintiff s claim of negligence would likely prevail against Defendant in the case of
educational malpractice, but also under the negligence theory that “A school district has an
enhanced and solemn duty to protect minor students in its care.” Christensen v. Royal Sch. Dist.

No. 160, 156 Wn.2d 62, 67, 124 P_3d 283_

Schools have a “‘special relationship” with the students in its custody and a duty to
protect them ‘from reasonably anticipated dangers ”’ Yurkovich v. Rose, 68 Wn. App_ 643, 847

P.2d 925 (1993) (citing Webb v. Seattle, 22 Wn.2d 596, 602, 157 P.2d 312 (1945)). A school

 

district also has a duty to anticipate dangers and take precautions This duty was explained by the
court in Carabba v. Anacortes School Dist_ No. 103, 72 Wn.2d 939, 955, 435 P.2d 936 (1967):
The duty owed by a school district to its pupils has been recently stated by the court to be: [T]o

anticipate reasonably foreseeable dangers and to take precautions protecting the children in its

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custody from such dangers rIhe child may sue the school district for injuries resulting from its
failure to protect the child . _ . [A] school district may be liable for injuries sustained as a result
of negligent supervision or failure to supervise activities of its students The school’s duty to
inspect the premises and to anticipate dangers is continuing in nature and the students have a
right to assume that the school district has performed its duty. Kellev v. School Dist. No. 71, 102
Wn_ 343, 173 Pac_ 333 (1918). That assumption is part of the special relationship that exists
between a school district and its students A school district takes on a special relationship with its

pupils, predicated on the district’s role as substitute parents McLeod 42 Wn_2d at 309. The duty

 

imposed under these circumstances is one of reasonable care; as its supervises the pupils within
its custody, the district is required to exercise such care as a reasonably prudent person would
exercise under the same or similar circumstances J.N. v. Bellinaham School Dist. No_ 501, 74
Wn. App_ 49, 57, 871 P.Zd 1106 (1994), citing Briscoe v. School Dist. No. 123. 32 Wn.2d 353,
362, 201 P.2d 397 (1949). School personnel are held to a higher “standard of reasonableness”
than an ordinary parent This is based on the special training held by school personnel
Reasonable or ordinary care is that degree of care which an ordinarily careful and prudent person

would exercise under the same or similar circumstances or conditions Gordon v. Deer Park

 

School Dist. No. 414, 71 Wn.2d 119, 122, 426 P.2d 824 (1967)_ Whether a risk of harm is
reasonably foreseeable “under the same or similar circumstances” depends upon the particular
defendant’s characteristics and experience See id. at 125 (foreseeability of injury to a child
during supervised baseball game on school premises evaluated in the light of the instructor’s

°‘experience in playing baseball,”); see generally Keaton, et al, Prosser and Keaton on the Law of

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Torts § 32, at 175, 185 (Sth ed 1984) (persons must use all care which is consistent with

particular knowledge, experience, or skills).

Defendants failed to properly supervise the students when 11~1 was continually bulled by
the third party students related to the urination incident and other incidents described above, and
he and his parents, Plaintiffs ]onathan Held and Lisa Held7 have suffered a number of emotional
health related damages and has had to commence private schooling because Defendant was
unable to provide him the appropriate education he deserved under applicable federal and state
laws (See Exhibit l8, Premera Claims History Review dated 1/6/14, and Exhibit 19, Cedar Park
Christian School for 2013-2014). Similarly, Plaintiffs have ample evidence supporting their
claim of a hostile educational environment, a claim supported by Dr. Oram, upon whose expert
opinion Defendant has relied to create JH’s 504 Plan, and others treating him for anger,
depression, and self esteem issues related to what he has experienced while under the care of

Defendant employees
v. Intentional Infliction of Ernotional Distress

Defendant incorrectly claims Plaintiffs are pursuing the claim of intentional infliction of
emotional distress exclusively because of three isolated incidents; however, Plaintiffs are
pursuing this because of anumber of isolated incidents as well as the cumulative effect all the
discriminatory treatment has caused Plaintiffs. The issues endured by Plaintiff have been
extreme, causing physical distress, emotional distress, and the need to leave the public school
system at great expense ]H has been called a “dick,” a “jackass”, “stupid” (See Declaration of

Jonathan Held dated Iuly 29, 2013). He has overheard Defendant employees talk about him in a

Law Office of Jenny Cochrane
777 103th ave. N.E.,- ste. 2240
Be|levue, WA, 98004
(425)451-7276 (p)
(206)333*6527 (t)

 

derogatory and spiteful way. Plaintiffs Lisa Held and Jonathan 1-1e1d have had to endure great
emotional distress due to Defendant ignoring their requests for appropriate accommodations and
apologies and proper training for Defendant employees who had mistreated 11-1 in a
discriminatory manner. Plaintiff Lisa Held went to a manifestation determination hearing that
should not have been scheduled to see her son’s private information projected on a wall for a
third party to see over her tears and protest No student and no parent of any student should have
to undergo this treatment without resolution Plaintiffs have viable material issues of fact they
have provided a prima facie case to support, thereby meeting what standard is required of them

in response to the instant Motion.
4. Conclusion

Not only do Plaintiffs have numerous viable claims for which material issues are in
dispute, some of these facts are indisputably supportive ofPlaintiffs’ position in fact. ln addition,
until Plaintiffs are provided all discovery responses they have requested, and until depositions of
Defendant employees and witnesses are completed to more fully support their claims, summary
judgment against them would be wholly inappropriate In addition, numerous policies and
procedures of the Northshore School District have been violated in this case, for which much

evidentiary support is available, related to all material issues in dispute

For all the above reasons, Defendant’s Motion for Summary Judgment should be denied,
and Plaintiff s costs for having to defend against it should be ordered against Defendant because

they improperly brought this l\/lotion while many matters were in dispute, unnecessarily delaying

Law Of‘fice oflenny Cochrane
777 103th Ave. u.E.; si@. 2240
Bel|evue, WA, 98004

t425}45 1-7276 (p}
(206)338-6527 (f)

 

discovery, which they are egregiously deficient in providing, and because numerous material

issues remain in dispute so that summary judgment is not appropriate against Plaintiff

Respectfully submitted this l lim day of .JE_P+€WJ lo€ ry Qo }'-f

/s/ J`enny Cochrane
Jenny Cochrane, WSBA #41789

Attorney for Plaintiffs

777 103th Ave_ N_E.; sia 2240
Bellevuej WAJ 98004

(425) 451-7276 (p)

Law Otfice of Jenny Cochrane
?77 loath Ave. N.E.; ste. 2240
Bel|evue, WA, 98004
(425)451-7276 (p)
(206)333-6527 (f)

 

